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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA

                                  CRIMINAL MINUTES



Date: November 28, 2022 (Time: 4 hours, 27 mins) JUDGE: Yvonne Gonzalez Rogers

Case No: CR-21-00429-YGR
Case Name: UNITED STATES v. RAY J. GARCIA


Attorney for Plaintiff: Andrew Paulson; Molly Priedeman
Attorney for Defendant: James Reilly


Deputy Clerk: Kelly Collins             Court Reporter: Pamela Batalo Hebel



                                       PROCEEDINGS

      Jury Trial, Day 1 - HELD.

            (See Attached Trial Log)




CASE CONTINUED TO: November 29, 2022, at 8:00 a.m. for Further Jury Trial.
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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA

Case No: 21-cr-00429-YGR-1
Case Name: USAv. Garcia

                          TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                           PLAINTIFF ATTORNEY:                     DEFENSE ATTORNEY:
 Yvonne Gonzalez Rogers           Andrew Paulson; Molly Priedeman         James Reilly
 TRIAL DATE:                      REPORTER(S):                            CLERK:
 November 28, 2022                Pamela Batalo Hebel                     Kelly Collins

 PLF   DEF DATE/TIME
 NO.   NO. OFFERED           ID      REC     DESCRIPTION                                             BY
           7:58 a.m.                         Court in session; Discussion with counsel outside the
                                             presence of the jury.
             8:02 a.m.                       Witnesses sworn under seal
             8:08 a.m.                       Court in recess.
             8:33 a.m.                       Court in session.
             8:35 a.m.                       Jury is present.
             8:36 a.m.                       Court gives instructions to the jury.
             8:54 a.m.                       Government opening statement by Andrew Paulson
             9:14 a.m.                       Defendant opening statement by James Reilly.
             9:21 a.m.                       Government calls its first witness Melissa.
             9:24 a.m.                       Witness is sworn and testified under direct
                                             examination by Molly Priedeman.
 217         11/28/2022      X       X       Inmate Photo – Victim 1
 314         11/28/2022      X       X       Aerial View of FCI Dublin (labeled) 1
 50          11/28/2022      X       X       Photo of Visitation
 46          11/28/2022      X       X       Photo of Visitation
 39          11/28/2022      X       X       Photo of Visitation
 38          11/28/2022      X       X       Photo of Bathroom Visitation
 29          11/28/2022      X       X       Photo of Bathroom Visitation
             9:56 a.m.                       Court and Jury in recess.
             10:16 a.m.                      Court is back in session.
             10:18 a.m.                      Jury present; direct examination of witness Melissa
                                             by Molly Priedeman continues.
 240         11/28/2022      X       X       Rec Area 1
 241         11/28/2022      X       X       Rec Area 2
 242         11/28/2022      X       X       Rec Area 3
 127         11/28/2022      X       X       Photo of R. Garcia’s Penis
 288         11/28/2022      X       X       Photo of R. Garcia’s Penis
                                                  1
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                                Case No: 21-cr-00429-YGR-1
                                 Case Name: USA v. Garcia
                                  Date: November 28, 2022
             Courtroom Deputy: Kelly Collins - Court Reporter: Pamela Batalo Hebel

                        EXHIBIT and WITNESS LIST CONTINUED

PLF   DEF DATE/TIME
NO.   NO. OFFERED         ID     REC     DESCRIPTION                                      BY
295       11/28/2022      X      X       Photo of R. Garcia’s Penis
7         11/28/2022      X      X       Photo of Cell
55        11/28/2022      X      X       Photo of Victim 1
52        11/28/2022      X      X       Photo of Victim 1
53        11/28/2022      X      X       Photo of Victim 1
54        11/28/2022      X      X       Photo of Victim 1
56        11/28/2022      X      X       Photo of Victim 1
51        11/28/2022      X      X       Photo of Victim 1
37        11/28/2022      X      X       Photo of Bathroom in Visitation
35        11/28/2022      X      X       Photo of Bathroom in Visitation
40        11/28/2022      X      X       Photo of Changing Stalls in Visitation
42        11/28/2022      X      X       Photo of Changing Stalls in Visitation
44        11/28/2022      X      X       Photo of Changing Stalls in Visitation
321       11/28/2022      X      X       Photo of F-Unit Exterior 4
          11:40 a.m.                     Court and jury in recess.
          12:00 p.m.                     Court is back in session.
          12:03 p.m.                     Jury is present.
          12:03 p.m.                     Cross examination of witness Melissa by James
                                         Reilly.
          1:29 p.m.                      Jury is admonished and released for the day.
          1:30 p.m.                      Court is adjourned until Tuesday, November 29,
                                         2022, at 8:00 a.m.




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